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                      UNITED STATES DISTRICT COURT

                     EASTERN DISTRICT OF CALIFORNIA



                         ORDER OF REASSIGNMENT



       Pursuant to the Order of Designation of District Judge to Service in

Another District within the Ninth Circuit, and good cause appearing therefore:

       IT IS HEREBY ORDERED this action is reassigned from Judge David F. Levi

to Judge D. Lowell Jensen for all purposes.

       The new case number for this action, which must be used on all future documents

filed with the court, is: 2:05-cr-0014 DLJ.

       All dates currently set in this reassigned actions shall remain pending subject to

further order of the court.



Dated: December 12, 2007
